         Case
B2100A (Form     16-17625-elf
             2100A) (12/15)           Doc 60       Filed 01/30/20 Entered 01/30/20 09:50:12                       Desc Main
                                                   Document      Page 1 of 1
                                         UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Pennsylvania (Philadelphia)
IN RE:                                                                Case No.: 16-17625
Debtors: Marianne Dugan                                               Loan Number (Last 4):        4365


                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this evidence
and notice.
U.S. Bank Trust National Association as Trustee for               Fay Servicing, LLC
GIFM Holdings Trust
Serviced by Select Portfolio Servicing, Inc.
Name of Transferee                                                Name of Transferor

PO Box 65250                                                      Court Claim # (if known): 7
Salt Lake City, UT 84165                                          Amount of Claim:          $202,087.58
                                                                  Date Claim Filed:         04/11/2017

Phone: 1-800-258-8602                                             Last Four Digits of Acct #: 9703
Last Four Digits of Acct #: 4365

Name and Address where transferee payments should be sent (if different from above):
Select Portfolio Servicing, Inc.
Attn: Remittance Processing
PO Box 65450
Salt Lake City, UT 84165-0450

Phone:    1-800-258-8602
Last Four Digits of Acct #:   4365



I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
belief.


By:      /s/ John Shelley                                                                 Date:   01/30/2020
         InfoEx, LLC, as authorized filing agent
          (Approved by: Michelle Enoch)


Specific Contact Information:
Michelle Enoch - Bankruptcy Supervisor
Phone: 1-800-258-8602




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


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